

People ex rel. Rodriguez v Fludd (2020 NY Slip Op 00926)





People ex rel. Rodriguez v Fludd


2020 NY Slip Op 00926


Decided on February 6, 2020


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on February 6, 2020
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

ALAN D. SCHEINKMAN, P.J.
REINALDO E. RIVERA
SHERI S. ROMAN
JEFFREY A. COHEN, JJ.


2020-00563

[*1]The People of the State of New York, ex rel. Edwin Rodriguez, petitioner,
vVera Fludd, Sheriff of Nassau County, respondent.


N. Scott Banks, Hempstead, NY (Madeline A. Rasmussen of counsel), for petitioner.
Madeline Singas, District Attorney, Mineola, NY (John B. Latella and Hilda Mortensen of counsel), for respondent.



DECISION &amp; JUDGMENT
Writ of habeas corpus in the nature of an application directing the immediate release of the petitioner, who is incarcerated in the Nassau County Correctional Center.
ADJUDGED that the writ is dismissed, without costs or disbursements.
The petitioner has failed to demonstrate his entitlement to immediate release (see People ex rel. Douglas v Vincent , 50 NY2d 901, 903).
SCHEINKMAN, P.J., RIVERA, ROMAN and COHEN, JJ., concur.
ENTER:
Aprilanne Agostino
Clerk of the Court








